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                               UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF CALIFORNIA



HERBERT M. BELLINGER, JR.,

                  Plaintiff,                  No. CIV S-02-2335 LKK GGH P
         vs.

DEPUTY ALLBEE, et al.,

                  Defendants.                 ORDER & WRIT OF HABEAS CORPUS
                                       /             AD TESTIFICANDUM

               Herbert M. Bellinger, Jr., inmate # D-16185, a necessary and material witness in
proceedings in this case on July 24, 2006, is confined in California State Prison , Los Angeles
County, 44750 60th Street West, Lancaster, CA 93536-7620, in the custody of the Warden
Charles Harrison; in order to secure this inmate's attendance it is necessary that a Writ of Habeas
Corpus ad Testificandum issue commanding the custodian to produce the inmate in Court, 8th
Floor, Courtroom #24, United States Courthouse, 501 I Street, Sacramento, California on July
24, 2006, at 9:00 a.m.

                  ACCORDINGLY, IT IS ORDERED that:

                1. A Writ of Habeas Corpus ad Testificandum issue, under the seal of this court,
commanding the Warden to produce the inmate named above to testify in United States District
Court at the time and place above, and from day to day until completion of court proceedings or
as ordered by the court; and thereafter to return the inmate to the above institution;

               2. The custodian is ordered to notify the court of any change in custody of this
inmate and is ordered to provide the new custodian with a copy of this writ; and

               3. The Clerk of the Court is directed to serve a courtesy copy of this order and
writ of habeas corpus ad testificandum on the Out-To-Court Desk, California State Prison -
Sacramento, P.O. Box 290007, Represa, California 95671.


                          WRIT OF HABEAS CORPUS AD TESTIFICANDUM

To: Warden Charles Harrison, California State Prison, Los Angeles County, 44750 60th
Street West, Lancaster, CA 93536-7620:

               WE COMMAND you to produce the inmate named above to testify before the
United States District Court at the time and place above, and from day to day until completion of
the proceedings or as ordered by the court; and thereafter to return the inmate to the above
institution.

               FURTHER, you have been ordered to notify the court of any change in custody
of the inmate and have been ordered to provide the new custodian with a copy of this writ.

DATED: 4/21/06                                       /s/ Gregory G. Hollows

                                                     GREGORY G. HOLLOWS
                                                     UNITED STATES MAGISTRATE JUDGE
GGH:mp; bell2335.841(2)
